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                          United States District Court
                           Middle District of Florida
                             Jacksonville Division

DEPUY SYNTHES PRODUCTS, INC.
& DEPUY SYNTHES SALES, INC.,

      Plaintiffs,

v.                                                  NO. 3:18-cv-1342-HES-PDB

VETERINARY ORTHOPEDIC IMPLANTS, INC., ETC.,

      Defendants.



                                      Order

      Earlier in this action, the undersigned entered an order scheduling a
settlement conference and included in the order confidentiality language from
Local Rule 4.03(g). 1 D456 at 3. The undersigned conducted the conference on
December 6, 2022. D471. The parties did not settle. D471. During the ensuing
trial, the parties continued to try to settle, including, at least twice, with the
undersigned’s ad hoc assistance. 2 D564 at 488−92; D565 at 661−62; D567 at
993. After a verdict for Depuy Synthes Products, Inc., and Depuy Synthes
Sales, Inc., D555, the parties settled on their own, D631, D631-1; and, last
year, the clerk entered judgment against Veterinary Orthopedic Implants,
Inc. (“VOI”), and Fidelio Capital AB, D640.




      1The Court revised the Local Rules, effective April 1, 2024. Local Rule 4.03(g)

was unchanged.
      2The undersigned has no extra-docket record or personal recollection of the

substance of any settlement discussions.
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      Consequently, VOI and others are suing Dr. Claude Gendreau, the
Claude   Gendreau     Investment    Trust,   and   others      in     Delaware    for
indemnification. D645 at 3. For that dispute, Dr. Gendreau and the trust
want documents about a settlement offer made on the first day of the trial in
this action, D645 at 4, which was a day the undersigned did not meet with
the parties to try to help them settle, see D563 at 9–11, 75. The Delaware
court ruled that the undersigned is best positioned to decide whether
disclosing the documents would violate the undersigned’s order. D645 at 4.

      Dr. Gendreau and the trust now appear here, preliminarily asking to
seal these motions and exhibits:

   • a proposed motion to intervene in this action, SD642-1;

   • their pleading in the Delaware action, SD642-4, SD642-10;

   • a proposed motion for a ruling on the scope of the confidentiality
     language or to modify the undersigned’s order, SD642-7;

   • emails between counsel about discovery of documents relating to
     settlement discussions, SD642-11;

   • letters between counsel about their respective positions on
     indemnification, SD642-14, SD642-15, SD642-16, SD642-17; and

   • a motion in the Delaware action by VOI and the other Delaware
     plaintiffs asking the Delaware court to strike information from
     the Delaware pleading filed by Dr. Gendreau, the trust, and the
     other Delaware defendants, SD642-18.

      VOI and Fidelio Capital move to strike the motion to seal or,
alternatively, to grant it. D645. Dr. Gendreau and the trust oppose the
motion to strike but not the alternative relief requested. D646.




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      The motion to strike, D645, is granted. The Court need not consider
the items proposed for sealing. The Court’s jurisdiction to provide relief to Dr.
Gendreau and the trust in this post-judgment setting is unclear. To the
extent the Court has discretionary ancillary jurisdiction, see Kokkonen v.
Guardian Life Ins. Co. of Am., 511 U.S. 375 (1994); Cooter & Gell v.
Hartmarx Corp., 496 U.S. 384 (1990), the undersigned would decline to
exercise that jurisdiction in favor of the Delaware court applying the order
(and, by extension, Local Rule 4.03(g)), to the circumstances presented in the
Delaware action, including using settlement statements to prove, disprove, or
defeat claims not in this action (the primary concern behind Local Rule
4.03(g)) but in the Delaware action. 3

      The Clerk of Court is directed to strike the motion to seal, D642, and its
exhibits, SD642-1 to SD642-18.

      Ordered in Jacksonville, Florida, on November 15, 2024.




      3Cognizant of the rule against advisory opinions and the policy behind it, the

undersigned provides the following “for what it’s worth” statement to try to be
helpful and preempt cascading litigation here. The undersigned would not consider
settlement discussions covered by the undersigned’s order, no matter the substance,
if they occurred after the December 6 conference and were between the parties only
(i.e., not made in the undersigned’s presence during the ad hoc settlement
discussions).


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